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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


THE DAILY WIRE, LLC et al.,

              Plaintiffs
       v.
                                                         Civil Action No. 6:23-cv-00609 (JDK)
UNITED STATES DEPARTMENT
OF STATE et al.,

              Defendants.

                            [PROPOSED] SCHEDULING ORDER

        Pursuant to Federal Rule of Civil Procedure 16(b) and the Eastern District of Texas Local
Rules (except as modified herein), the Court, having considered the Joint Discovery Plan and
Proposed Schedule submitted by the parties, finds that the following schedule should govern the
disposition of this case:

  May 31, 2024                   Parties file joint report of attorney conference
  June 10, 2024                  Defendants serve written responses and objections to RFPs
                                 and Interrogatories served by Plaintiffs on May 9, 2024
  June 14, 2024                  Parties exchange Rule 26(a)(1) Initial Disclosures and file
                                 Proposed Protective Order, Clawback Agreement, and ESI
                                 Protocol
  No later than June 20, 2024    Parties begin meet and confer over any discovery disputes
                                 regarding Defendants’ written responses and objections to the
                                 RFPs and Interrogatories; Parties will confer and, if needed,
                                 provide joint statement to Court on unresolved discovery
                                 disputes within one week of completing conferral process
  July 12, 2024                  Defendants Begin Rolling Production of Documents
                                 Responsive to Expedited RFPs. Defendants will produce
                                 privilege logs on a rolling basis. The Parties agree that
                                 privileged communication between the parties’ litigation
                                 counsel and their clients occurring after this suit commenced,
                                 or amongst agency litigation counsel discussing matters
                                 related to this litigation, may be excluded from privilege logs.
  September 1, 2024, or 30       Answer due
  days before Defendants
  complete production of
  documents responsive to



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  Expedited RFPs, whichever
  is later
  September 30, 2024             All documents and privilege logs from Expedited RFPs
                                 produced
  Within 10 days after           Parties begin meet and confer over any discovery disputes
  Defendants complete            regarding Defendants’ expedited document production;
  production of documents        Parties will confer and, if needed, provide joint statement to
  responsive to Expedited        Court on unresolved discovery disputes within one week of
  RFPs                           completing conferral process
  Within 10 days after           Plaintiffs provide Defendants notice of intent to seek
  Defendants complete            depositions or additional third-party subpoenas for
  production of documents        preliminary injunction
  responsive to Expedited
  RFPs
  Within 17 days after           Parties begin meet and confer regarding Plaintiffs’ notice of
  Defendants complete            intent to seek depositions or additional third-party subpoenas
  production of documents        for preliminary injunction; Parties will confer and, if needed,
  responsive to Expedited        submit separate statements to Court
  RFPs
  TBD by Court                   If needed, Court decision on depositions, additional third-
                                 party subpoenas, or other outstanding preliminary injunction
                                 discovery disputes
  Within 10 days after           Plaintiffs serve additional third-party subpoenas, if needed
  agreement or order
  regarding Plaintiffs’ notice
  seeking expedited
  depositions and additional
  subpoenas
  Within 30 days after           Preliminary injunction depositions completed, if needed
  agreement or order
  regarding Plaintiffs’ notice
  seeking expedited
  depositions and additional
  subpoenas
  21 days after preliminary      Plaintiffs’ supplemental memorandum in support of
  injunction depositions         preliminary injunction due
  21 days after Supplemental     Defendants’ supplemental response due
  Memorandum
  7 days after Supplemental      Plaintiffs’ supplemental reply due
  Response
  Within 30 days after           Parties confer regarding completion of Rule 26 and Third-
  Completion of                  Party discovery, including potential need for periodic status
  Supplemental Preliminary       conferences, whether the anticipated six months from
  Injunction Briefing            Preliminary Injunction ruling is adequate for completing
                                 discovery, and whether the limits on discovery need to be



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                                   adjusted; Parties will also confer as needed if Plaintiffs
                                   propose to amend complaint
   45 days after Completion of     Deadline for Plaintiffs to file amended pleadings (assuming
   Supplemental Preliminary        Defendants’ consent or leave of court is given)
   Injunction Briefing
   TBD                             Hearing on motion for preliminary injunction
   TBD                             Ruling on motion for preliminary injunction
   6 months after Ruling on        Fact discovery completed
   Preliminary Injunction
   14 days after Completion of     Deadline for Plaintiffs’ case-in-chief expert reports and
   Fact Discovery                  disclosures pursuant to Federal Rules of Civil Procedure
                                   26(a)(2)(B) and 26(a)(2)(C).
   75 days after Completion of     Deadline for Defendants’ rebuttal or case-in-chief expert
   Fact Discovery                  reports and disclosures pursuant to Federal Rules of Civil
                                   Procedure 26(a)(2)(B) and 26(a)(2)(C).
   105 days after Completion       Deadline for Plaintiffs’ rebuttal expert report and disclosures,
   of Fact Discovery               if any.
   135 days after Completion       Expert discovery completed
   of Fact Discovery
   No later than 30 days after     Deadline for Plaintiffs’ motion for summary
   Completion of Expert            judgment or other dispositive motions, if any
   Discovery
   No later than 60 days after     Deadline for Defendants’ response to Plaintiffs’ dispositive
   Completion of Expert            motion(s) and for Defendants’ motion for summary
   Discovery                       judgment or other dispositive motions, if any
   No later than 90 days after     Deadline for Plaintiffs’ summary judgment reply and
   Completion of Expert            response to Defendants’ dispositive motion(s)
   Discovery
   No later than 120 days after    Deadline for Defendants’ summary judgment reply
   Completion of Expert
   Discovery
   TBD                             Summary Judgment Hearing or Evidentiary Bench Trial


       If any of these dates fall on a weekend or Court holiday, the deadline is modified to be the
next Court business day. Also note that all deadlines in this order are for filing or delivery, not
mailing dates.

       Unless otherwise ordered or specified herein, all limitations and requirements of the
Federal Rules of Civil Procedure and the local rules of this Court must be observed.

                      I. MODIFICATION OF SCHEDULING ORDER

       As addressed above, this Order shall control the disposition of this case unless it is modified
by the Court upon a showing of good cause and by leave of court. Fed. R. Civ. P. 16(b)(4).




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                                 II. DISCOVERY DISPUTES

        Before filing a motion to compel, a motion to quash, or a motion for protection from
discovery, lead counsel for each party must confer in good faith concerning the disputes. If the
dispute is not resolved by conferring in good faith, then a party may file an appropriate motion.
Any such motion should include a certification by counsel describing the steps taken to comply
with this paragraph.

                                       III. RESOURCES

       The Eastern District of Texas website (www.txed.uscourts.gov) contains information about
Electronic filing, which is mandatory, Local Rules, telephone numbers, general orders, frequently
requested cases, the Eastern District fee schedule, and other information.

                                      IV. COMPLIANCE

        A party is not excused from the requirements of this scheduling order by virtue of the fact
that dispositive motions are pending, the party has not completed its investigation, the party
challenges the sufficiency of the opposing party’s disclosure, or because another party has failed
to comply with this Order or the rules.

        Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
Procedure, or this Order may result in the exclusion of evidence at trial, the imposition of sanctions
by the court, or both. If a fellow member of the Bar makes a just request for cooperation or seeks
scheduling accommodation, a lawyer will not arbitrarily or unreasonably withhold consent.
However, the court is not bound to accept agreements of counsel to extend deadlines imposed by
rule or court order. See Local Rule AT-3(j).

                                         V. INQUIRIES

       Questions relating to this scheduling order or legal matters should be presented in a motion,
as appropriate. For questions regarding electronic notice or electronic case files, please see the
ECF FAQs on the Eastern District of Texas website.




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